           Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 1 of 8




                    THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA


ERIC GRAU                                    )
                                             )    Civil Action No.
     Plaintiff,                              )
                                                     2:21-CV-208-RWS
v.                                           )
                                             )
HOME TOWNE STUDIOS BY RED                    )    JURY TRIAL DEMANDED
ROOF GAINESVILLE, GEORGIA                    )
                                             )
  Defendant.                                 )
_________________________________            )



                          COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Eric Grau (“Plaintiff”), through undersigned

counsel, and files this lawsuit against Home Towne Studios by Red Roof Inn,

Gainesville, Georgia (“Defendant”), and for his Complaint shows the following:

                             I.    Nature of Complaint

                                             1.

        Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.
         Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 2 of 8




                                                2.

      This action seeks declaratory relief, along with liquidated and actual

damages, attorney’s fees and costs for Defendant’s failure to pay federally

mandated overtime wages to Plaintiff in violation of the Fair Labor Standards Act

of 1938, as amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”). Plaintiff

also brings claims pursuant to 26 U.S.C. § 7434.

                            II.    Jurisdiction and Venue

                                                3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 216(b) and

28 U.S.C. § 1331.

                                                4.

      Defendants are a Georgia corporation and reside in this district. Defendants

do business in and are engaged in commerce in the State of Georgia. Venue is

proper in this district pursuant to 29 U.S.C. § 1391(b) because Defendants reside in

this district and a substantial part of the events and omissions that give rise to

Plaintiff’s claims occurred in this district.




                                            2
         Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 3 of 8




                              III.   Parties and Facts

                                              5.

      Defendant is a Corporation that does business, and is engaged in commerce

within the State of Georgia

                                              6.

      Defendant is now and, at all times relevant hereto has been a domestic

corporation engaged in an industry affecting commerce.

                                              7.

      Defendants may be served by delivering a copy of the summons and

complaint upon its legal counsel at 600 Peachtree Street NE, Suite 4700 Atlanta,

GA 30308, or via email at Joelle.Sharman@lewisbrisbois.com.

                                              8.

      Plaintiff began working as a Security Officer in or around April 2019.

                                              9.

      Plaintiff began working in a full time maintenance position in or around

November 2020 through March 2021.

                                              10.

      It is Plaintiff’s belief that he was not paid the appropriate overtime during

this period.




                                          3
          Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 4 of 8




                                             11.

        Plaintiff contends that he worked at least fifteen (15) hours of overtime

during this period.

                                             12.

        Plaintiff was an “employee” of Defendant, as that term has been defined by

the FLSA, 29 U.S.C.S. § 201 et seq., 29 U.S.C. § 203(e).

9.

                                             13.

        Throughout his employment with Defendant, Plaintiff has been entitled to

overtime compensation for all hours worked in excess of 40 hours in a workweek.

                                             14.

        Defendant is a private employer engaged in interstate commerce, and its

gross revenues exceed $500,000 per year.

                                             15.

        Defendant permitted Plaintiff to regularly work in excess of 40 hours in

given workweeks without receiving overtime compensation.

                                             16.

        Defendant is governed by and subject to the FLSA, 29 U.S.C. §204 and

§207.




                                         4
         Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 5 of 8




                                            17.

      Throughout Plaintiff’s employment, Plaintiff’s job duties and the

performance thereof, along with her hours worked were controlled by Defendant.

                                            18.

      Throughout his employment with Defendant, Plaintiff was economically

dependent on Defendant.

                                            19.

      Plaintiff has been individually covered under the FLSA by virtue of the

nature of the work he performed.

                                    Count I

                Violation of the Overtime Wage Requirement of
                         the Fair Labor Standards Act

                                            20.

      Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.

                                            21.

      Defendants have violated the FLSA, 29 U.S.C. § 201, et seq. including but

not limited to 29 U.S.C. § 207, by failing to pay minimum wage and overtime

wages for hours Plaintiff worked in excess of (40) hours in given workweeks.



                                        5
         Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 6 of 8




                                               22.

      The FLSA, 29 U.S.C. § 207, requires employers to pay employees one and

one-half times the regular rate of pay for all hours worked in excess of (40) hours

in a workweek.

                                               23.

      Defendant knew or had reason to know Plaintiff regularly worked over 40

hours in workweeks without overtime compensation.

                                               24.

      Defendant’s actions, policies, and/or practices as described above violate the

FLSA’s overtime requirement by regularly and repeatedly failing to compensate

Plaintiff at the required overtime rate.

                                               25.

      Defendant knew, or showed reckless disregard for the fact that Defendant

failed to pay Plaintiff overtime compensation in violation of the FLSA.

                                               26.

      Pursuant to the FLSA, 29 U.S.C. § 216, Plaintiff is entitled to recover the

unpaid overtime wage differential, liquidated damages in an equal amount to

unpaid overtime, attorneys’ fees, and the costs of this litigation incurred in

connection with these claims.




                                           6
  Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 7 of 8




                            Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court:

(A)   Grant Plaintiff a trial by jury as to all issues of fact;

(B)   Enter judgment against Defendant and awarding Plaintiff unpaid

      wages pursuant to the FLSA, 29 U.S.C. §§ 206(d), 207, and 216,

      liquidated damages as provided by 29 U.S.C. § 216, pre-judgment

      interest on unpaid wages, court costs, expert witness fees, and

      reasonable attorneys’ fees pursuant to 29 U.S.C. § 216, and all other

      remedies allowed under the FLSA; and,

(C)   Grant declaratory judgment declaring that Plaintiff’s rights have been

      violated and that Defendant violated the FLSA;

(D)   Grant Plaintiff leave to add additional state law claims if necessary;

      and;

(E)   Award Plaintiff such further and additional relief as may be just and

      appropriate.

      Dated this 20th day of September, 2021.




                                     7
Case 2:21-cv-00208-RWS Document 1 Filed 09/20/21 Page 8 of 8




                           Respectfully submitted,

                           /s/ Jeremy Stephens
                           Jeremy Stephens, Esq.
                           Ga. Bar No.: 702063
                           MORGAN & MORGAN, P.A.
                           191 Peachtree Street, N.E., Suite 4200
                           Post Office Box 57007
                           Atlanta, Georgia 30343-1007
                           Tel: (404) 965-1682
                           E-mail: jstephens@forthepeople.com

                           Attorney for Plaintiff




                             8
